                    IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                     3:10cr238(10)


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                    ORDER
MARK ERIC DORSEY, II (10)                )
________________________________________ )

       THIS MATTER is before the Court upon the government’s Motion to Revoke the

magistrate judge’s release order in Central District of California, pursuant to 18 U.S.C. § 3145(a).

(Doc. No. 109).

       The defendant was recently arrested in another district pursuant to an indictment returned

in this district charging him as part of a conspiracy to possess with intent to distribute 1,000

kilograms or more of marijuana, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(A). (Doc. No. 96:

Second Superseding Indictment). A magistrate judge in that district released the defendant after a

hearing on March 8, 2011.

       A district court is required to make an independent, de novo determination when acting on

a motion to review a magistrate judge’s pretrial release order. United States v. Stewart, 19 F.

App’x 46, 48 (4th Cir. 2001)(citing United States v. Rueben, 974 F.2d 580, 585-86 (5th Cir.

1992). However, a district court is not required to hold an additional evidentiary hearing as part

of its review. United States v. King, 849 F.2d 485, 489-90 (11th Cir. 1988); United States v. Hare,

873 F.2d 796, 799 (5th Cir. 1989). After conducting its independent review, a district court may

explicitly adopt the magistrate judge’s order without making duplicate findings, or may state

additional reasons supporting the decision. King, 849, F.2d at 490-91.




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       Accordingly, the Court has reviewed the entire record in this case de novo, including the

government’s Motion to Revoke and the Pretrial Services Report from the Central District of

California. While this case qualifies for the rebuttable presumption in favor of detention, 18

U.S.C. § 3142(e)(3), the Court finds that the magistrate judge correctly concluded that a

combination of conditions would reasonably assure the appearance of the defendant as required

and the safety of any other person and the community.

       IT IS, THEREFORE, ORDERED that the government’s Motion to Revoke Release

Order (Doc. No. 109) is DENIED.


                                                 Signed: March 9, 2011




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